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                        UNITED STATES DISTRICT COURT FOR THE
 5                        WESTERN DISTRICT OF WASHINGTON
                                    AT TACOMA
 6
 7
 8 UNITED STATES OF AMERICA,                       CASE NO. CR11-5504BHS
 9
                              Plaintiff,
10                                                 ORDER TO SEAL
                        v.
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12
13
     JOEL VALENCIA ROSAS,
14
                              Defendant.
15
16
17         Having read the Government’s Motion to Seal and because of sensitive information

18 contained within the Joint Motion,
19        It is hereby ORDERED that the Joint Motion to Reduce Sentence shall remain sealed.

20         DATED this 8th day of December, 2014.

21
22
23
24
25
                                            A
                                            BENJAMIN H. SETTLE
                                            United States District Judge
26
27
28

     ORDER TO SEAL                                                          UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     CR11-5504BHS- 1
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
